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                            UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF TENNESSEE – WESTERN DIVISION


      IN RE:
                                                                        CASE NUMBER: ________
      Bryant Johnson,                                                              CHAPTER 13
           DEBTOR.


      Bryant Johnson,
          PLAINTIFF,
      v.                                                                 ADV. PRO.: ___________
      Golden Title Loans, LLC dba 745-Cash
          DEFENDANT(S).

                  COMPLAINT FOR TURNOVER OF PROPERTY OF THE ESTATE


       The Debtor, as Plaintiff, brings this complaint for turnover of property of the estate
pursuant to FED. R. BANKR. P. 7001(1) and 11 U.S.C. § 542(a) to recover a 2003 Chevrolet
Tahoe, believed to have been repossessed by the Creditor, Golden Title Loans, LLC dba 745-
Cash, prior to the commencement of this case.

       The Court has jurisdiction of this case under the provisions of 28 U.S.C. §§ 1334(b) and
157(a). By virtue of 28 U.S.C. § 157(b)(2)(E), this is a core proceeding.

       Under the particular facts and circumstances and applicable law, the Plaintiff is entitled to
possession of the above-described property of the estate for “use” as contemplated in 11 U.S.C. §
363.

       WHEREFORE, the Plaintiff respectfully requests that an expedited hearing be set to
consider the requested relief, and that the court enter its order directing the Defendant to return
the property to the Debtor.

                                               Submitted on July 6, 2018 by:

                                                      /s/Thomas C. Fila____
                                                      Thomas C. Fila
                                                      Attorney for Debtor
                                                      200 Jefferson Ave., Ste. 925
                                                      Memphis, TN 38103
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                                       CERTIFICATE OF SERVICE

       I certify that the foregoing complaint was sent to the following parties via U.S. Mail on or
about July 6, 2018.

       The foregoing complaint was sent via electronic notice to the Chapter 13 Trustee on July
6, 2018.



                                                     /s/Thomas C. Fila____
                                                     Thomas C. Fila
                                                     Attorney for Debtor
                                                     200 Jefferson Ave., Ste. 925
                                                     Memphis, TN 38103
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DEBTOR/ PLAINTIFF:
     Bryant Johnson
     1362 Finley
     Memphis, TN 38116


CREDITOR/ DEFENDANT:
      Golden Title Loans, LLC dba 745-Cash
      c/o Registered Agent: Blair S. Graber
      3540 Summer Ave, Suite 103
      Memphis, TN 38122-3630

       Golden Title Loans, LLC dba 745-Cash
       3400 Elvis Presley Blvd
       Memphis, TN 38116




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